CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entered 02/28/19 16255:41

 
   

§ Fill in this information to identify your case:

 

 

newell L\miw m - i. <<:>is»€»

Firs\Name " Middle Name Last Name s
Debtor 2
(Spouse, iff`i|ing) First Name Middie Name Last Name

United Slates Bankruptcy Court for the;é ;O _ DiStricf Of N \/
Case number §§ ` \C\“" fl C> q g© &S: m CheCK if fhlS lS an

iirknown) amended filing

 

Official Form lOGSum
Summary of Your Assets and Liabilities and Certain Statistical |nformation 12/15

 

 

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize ¥our Assets

Your assets
Va|ue of what you own

1. Schedule A/B: Property (Oflicial Form 106A/B) ®
1a Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... $
/'\ , »~\ _ U`é
1b. Copy line 62, Tcta| personal property, from Schedu/e A/B ............................................................................................... $ (\__’ S@\*‘
\

 

 

 

10. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... 3 § :` 66
} 4
m Summarize Your Liabilities

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Cla/`ms Secured by Property (Ofncial Form 106D) i;:>
2a Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $

3. Schedule E/F.' Creditors Who Have Unsecured Claims (Oflicia| Form 106E/F)

 

 

 

 

 

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ $
3br Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedu/e E/F ....................................... + $ §
§
Your total liabilities $ ’
m Summarize Your lncome and Expenses
4. Schedule /.' Your/ncome (thcial Form 106|) :’, 52 115 §§ 00
Copy your combined monthly income from line 12 of Schedulel .......................................................................................... $ f ‘.
5. Schedu/e J.' Your Expenses (Omcial Form 106J) 57 ` L‘_[U ‘ C;_Q
Copy your monthly expenses from line 220 of Schedule J .................................................................................................... $ __‘”‘_,_2§___

Ofr'icial Form lOSSum Summary of Your Assets and Liabilities and Certain Statistical lnformation page 1 of 2

 

 

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Debtor 1 L\l/MW n(}¢t\"\ Cq T{G‘ 59 Case number (irknovm) 31 \'C,\ v 7 ©C\ 56 Ct»=cy}`

 

Firs\ Name Middle Name Lasl Name

Answer These Questions for Administrative and Statistica| Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
U, No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
Yes
7. What kind of debt do you have?
n Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8~99 for statistical purposes. 28 U.S.C_ § 159.

cl Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court With your other schedules

 

 

` 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Oft'icial _ 4 h 00
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 1220-1 Line 14. $ ;7 § §§ ‘
‘.7

 

 

 

 

 

; 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim

From Part 4 on Schedule E/F, copy the following:

9a Domestic support obligations (Copy line 6a.) $ ij
9b, Taxes and certain other debts you owe the government. (Copy line 6b.) $
Qc. C|aims for death or personal injury while you were intoxicated. (Copy line 60.) $
9d. Student loans. (Copy line 6f.) $

9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 69.) §

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h_) + $

 

99. Total. Add lines 9a through 9f. $

 

 

 

page 2 of 2
.M

     

 

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newell L\l…\iz; acme `l`<c>i:;e

First Name Middle Name Last Name

Debtor 2

 

(Spouse, if tiling) Fiist Name Middle Name Lasi Name

r‘ . ~`
United States Bankruptcy Court for the'. §§ Dlstrict of i\:\ \)\

Casenumber §§ ’ \Cid,i©qg© O»S”ai'

 

 

 

Ofiiclal Form 106A/B
Scheduie A/B: Property

 

Ei check ifihis is an
amended filing

12/15

ln each category, separately list and describe items. List an asset only onoe. lt an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possib|e. lt two married people are filing together, both are equally
responsible for supplying correct information. ll' more space is needed, attach a separate sheet to this form. Cn the top of any additional pages,

write your name and case number (il‘ known). Answer every question.

 

Describe Each Residence, Building, Land, or Other neal Estate You Own or Have an interest in

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Cly No. Go to Palt 2,
w Yes. Where is the property?

What is the property? Check all that apply.

Single-family home
111 oupiex or multi-unii building
m Condominium or cooperative

1.1. gliqg Ci'd\"iil§£(>\§ iq\lt'::

Street address, if available or other description

 

 

 

f m Manufactured or mobiie home
m Land
t v ,` m investment property
\\)\E QQ`\ C`/\L/ N \} `\\N°L m Timeshare
city stare ziP code
n Other

 

Who has an interest in the property? Check one.

NGSSQL\ UDebtorionly

County m Dethr2 only
n Debtor 1 and Debtor 2 only
w At least one of the debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Heve C/aims Secured by Prop erty.

Current value oil the Current value of the
entire property? portion you own?

$ Ll 'Z 131 CCG s
Descrlbe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

a Check lt this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

lf you own or have more than one, list here:
VVhat is the property? Check all that apply.
n Single-family home
1-2- o i iii-u 'i b ‘ '
streei address ii available or other description n up ex °r mu m u"d'"g
l:] Condominium or cooperative

g Manufactured or mobile home
n Land

m investment property

a Timeshare

m Other

 

 

Clty State ZlP Code

 

Who has an interest in the property? Check one.

m Debtor1 only

n Debtor 2 only

Cl Debtor1 and Debtor2 only

m At least one of the debtors and another

 

County

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Prop erty,

Current value of the Current value of the

entire property? portion you own'?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

13 check irihis is community property

(see instructions)

other information you wish to add about this item, such as local

property identification number:

 

OfEcial Form 106A/B Schedule Ale Property

page 1

Case 8-19-70980-ast

M;me

Middle Name

laian

First Name

Debtor 1

1.3.

TC© "\SQ

Last Name

 

Street address, if available, or other description

 

 

 

Whaf is the property? Check all that app|y.
m Singie-family home
n Duplex or multi-unit building

n Condominium or cooperative

 

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Case number (irknown) %hlc\ `(_?O G\XO \;“\.~&`\`

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Froperty.

Current value of the Current value of the

 

 

 

 

n Manufactured or mobile home entire property? portion you own?
n Land $ $
n investment property
City State le Code n Timeshare Describe the nature of your ownership
n interest (such as fee simp|e, tenancy by
Othe" the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C n Debtor1 only
t
Oun y n Debtor 2 only
n Debtor 1 and Debtor 2 only n Che°.k if thi_s is community Property
m At least one of the debtors and another (See mstruct'ons)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $
you have attached for Part 1. Write that number here. ...................................................................................... ")

M Describe Your Vehicies

 

 

 

Do you own, lease, or have legal or equitable interest irl any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicle1 also report it on Schedule G.' Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

n No

U Yes

3_1_ Nlake: \J\\ Q
Model: C:> § 'E\,i`n(>\=

Year:

§ 5 l §
Approximate mileage: b ) m

Other information:

 

 

§
§
§
§

 

if you own or have more than one, describe here:

3_2_ Make:
iV|ode|:
Year:
Approximate mileage:

Other information:

 

 

 

 

Offlclal Form lOGA/B

Who has an interest in the property? Check one.

m Debtor1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only

a Debtor 2 only

n Debtor1 and Debtor 2 only

I;l At least one of the debtors and another

[;l Check if this is community property (see
instructions)

Schedule AiB'. Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Cred/`fors Who Have C/aims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$ iii;c<;) $ %,oo@

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedu/e D:
Credil‘ors Who Have C/aims Secured by Prop erty‘

Current value of the
portion you own?

Current value of the
entire property?

page 2

DOC 9 Fll€d 02/26/19 Ent€r€d 02/28/19 16255241
lCi‘ '7OQ§O sgt

Case 8-19-70980-ast

L`i i\{\~€¢ mpm G., "'\“`&`©\S~€,

Case number (irknown) $'

 

 

Debtor 1
Frrst Name Middle Name Last Name
3_34 lVlake; Wh° has an 'ntere$t m the property? Check One- Do not deduct secured claims or exemptions Put
|;l D bt 1 l the amount of any secured claims on Schedule D:
MOdelZ e or on y Creditors Who Have Claims Secured by Property.
_ [;l Debtor 2 only
Year' Current value of the Current value of the

Approximate mileage:

Other information:

 

 

 

 

n Debtor1 and Debtor 2 only
n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one

entire property? portion you own?

3_4_ Make§ Do not deduct secured claims or exemptions Put
n D bt 1 l the amount of any secured claims on Schedule D.'
I\/|Odeli m e or on y Creditors Who Have Claims Seoured by Proper?y.
Debtor 2 only
Year:
n Debtor 1 and Debtor 2 only C:t:;:nt valurety°; the C:rrtri:':‘t V;|ju:v;’rf`;he
‘ - . e l'° 9 . .
Approx'mate m"eage‘ n At least one of the debtors and another p p p y
Other information:
cl Check if this is community property (see $ $

 

 

instructions)

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers motors personal watercrait, Hshing vessels snowmobi|es, motorcycle accessories

Ci'No

m Yes
4,1_ Make§ Wh° has an interest m the property? Check One- Do not deduct secured claims or exemptions. Put
m Debto 1 onl the amount of any secured claims on Schedule D:
MGde|f f y Creditors Who Have Claims Secured by Prop erty.
Yea|__ n Debtor 2 only

Other information:

 

 

 

 

lf you own or have more than one, list here:

n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Current value of the Current value of the
entire property? portion you own?

4_2, lVlakeZ Do not deduct secured claims or exemptions Put
n D bt 1 l the amount of any secured claims on Schedu/e D:
lVlOdel; e or on y Creditors Who Have Claims Secured by Property.
El Debtor 2 only / '
Year5 Current value of the Current value of the

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ........................................................................................................................ 9

Offlcial Form 106A/B

m Debtor 1 and Debtor 2 only
n At least one of the debtors and another

El Check if this is community property (see
instructions)

Schedule AIB: Property

entire property? portion you own?

 

 

 

page 3

 

CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entered 02/28/19 16255:41

Debtor1 L"tf`\r\-Q, mgrr& ’T`(<;i§~€

Filsl Name Middle Name Last Name

Describe Your Personal and Household ltems

Case number (irkm>wn) %' § g ' j ©Qr §§ @`S.§"

 

Do you own or have any legal or equitable interest in any of the following items?

6, Household goods and furnishings
Examples: lVlajor appliances furniture, linens china, kitchenware

ElNo

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

 

El/Yes Describe .........

 

zi<s»>e»\\§\c\ c § \r@.\\>\~@/

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers printers scanners; music
collections; electronic devices including cell phones cameras media players games

 

§§ No
Yes. Describe .......... §

8. Collectibles of value

Examples.' Antiques and figurines; paintings prints or other artwor’K; books pictures or other art objects;
§ stamp, coin, or baseball card collections; other collections memorabilia, collectibles
No

 

n Yes. Describe ..........

 

$ C>

 

63

 

9. Equipment for sports and hobbies

Examples: Sports photographic, exercise, and other hobby equipment; bicycles pool tables golf clubs skis; canoes
W and kayaks; carpentry tools; musical instruments
No

 

m Yes. Describe .......... §

 

 

©

 

 

 

 

 

 

10. Firearms
E mples.' Pistols rifles shotguns ammunition, and related equipment
§No §
Yes. Describe ..........
11, Clothes
Examp/es.' Everyday clothes furs leather coats designer wear, shoes accessories
§>No g
' a md
Yes. Describe .......... § §: _ C§\
\`>€§\/t}§rw cf"§f\\\zr\<>\
aj \ \
12. Jewelry
Examples: Everydayjewelry, costume jewelry, engagement rings wedding rings heirloom jewelry, watches gems
gold, silver
n No

n Yes. Describe ..........

 

 

 

13. Non-farm animals
Examples: Dogs, cats, birds horses

No

 

n Yes. Describe ..........

 

 

14 ny other personal and household items you did not already |ist, including any health aids you did not list

~No

 

n Yes. Give specific 7
information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. write that number here .................................................................................................................................................... -)

Ofticial Form 106AIB Schedule AIB: Property

 

 

 

page 4

 

CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entered 02/28/19 16255:41

Debtor1 hines marie 'T<<>\S~e Casenumbe~,-,M 9 \Ci 'TOCLSO @~S'i~

Filst Name Middle Name Last Name

 

Describe \'our Financial Assets

 

Current value ot the
portion you own?

Do not deduct secured claims
or exemptions

Do you own or have any legal or equitable interest in any of the following?

16. Cash
Examples: lVloney you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

ClNo

ij Yes`\.)~) ......................... ....... Q,.» MCK/ .................................................................. Cash: ______________________
17. Deposits oi‘ money

Examp/es: Checking, savings or other financial accounts; certificates of deposit; shares in credit unions brokerage houses
and other similar institutions lt you have multiple accounts with the same institution, list each.

 

 

 

 

 

 

 

 

 

EJ No g \thmoj€£
W ¥es ..................... lnstitution name: b L\_\ §\D {A‘_>`:\
17_1_ Checking amount Um’€ $ tx X 63 O ‘ 6 §
17.2. Checking account (` \’\ QS‘Q/ S‘ % ‘ C-»K @QC`U§QB $ 02 i(:)(`"\ ¢ m
17.3. Savings account $ C>
17.4. Savings account $ §
17,5_ Certiiicates of deposit $
17,6. Other financial account $
17.7. Other inancial account: $
17.8. Other inancial account $
17.9. Other tinancia| account $

 

18. Bonds, mutual funds or publicly traded stocks
Examp/es.' Bond funds investment accounts with brokerage firms money market accounts

UNo

m Yes ................. institution or issuer name:

 

 

 

 

 

~ 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses including an interest in
an LLC, partnership, and joint venture

 

 

v No Name of entity: % of ownership:
n Ves. Give specihc O% % $
information about O°/
them ° %
O% % $

 

Otficial Form 106A/B Schedule Ale Property page 6

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Debtor1 LK\'{\‘(\~(/; M{ \Cl._ TCC`) L§~`€ Case number (irknown) @" vi h ,`IC>OK RO Qg+

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks cashiers’ checks promissory notes and money orders
Non-negotlable instruments are those you cannot transfer to someone by signing or delivering them.

tim

 

 

m Yes. Give specific issuer name:
information about ®
them ....................... $
$
$

 

 

21. Retirement or pension accounts .i

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Examples: lnterests in lRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts or other pension or profit-sharing plans \
No ,\
Yes. List each §
account Separately_ Type of account lnstitution name:

401 (k) or similar plan: 3

Pension plan: $

'RA= $
Retirement account $ j
Keogh: $
Additional account $ §
Additional account $

22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples.' Agreements with landlords prepaid rent, public utilities (electric, gas water), telecommunications

companies or others ‘

§No
Yes .......................... institution name or individua|:

Electric: $
Gas: $ §
Heating oil: $
Secun`ty deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water“. $
Rented fumiture: $
Other‘. $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
n Yes .......................... issuer name and description:
$
$
$

 

 

Official Form 1GGAlB Schedute A!B'. Property page 6

CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entered 02/28/19 16255:41

 

 

Debtor 1 l’;)“l\N§\(\“Q MQ_\Q* ¢\:§`C£ \.Sf° Case number (ifkm\m> g ” \ § h jet q 863 G\§+

24. Interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program
26 u_s.c. §§ 530(!>)(1), 529A(b), and 529(b)(1).

No
n Yes ~~~~~~~~~~~~~~~~~~~~~~~~~ lnstitution name and description Separateiy tile the records of any interests.11 U.S.C. § 521 (c): C,:)

 

C:>
C>

 

 

 

 

25, Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

dNo

,\
a Yes. Give specinc O
information about them.... $

 

 

 

 

26, Patents, copyrights trademarks, trade sacrets, and other intellectual property
ll£xjmpies: lnternet domain names, websites, proceeds from royalties and licensing agreements
N

0

E] Yes. Give specific 6

information about them.... $

 

 

 

 

27. Liccnses, franchises, and other general intangibles
?ples: Building permits, exclusive lioenses, cooperative association holdings, liquor licenses, professional licenses
N

 

 

 

 

o z
L_.l Yes. Give specific ")
information about them.... $
Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

 

/_,
No ©
n Yes. Give specific information § Federak
about them, including whether
you already iiied the returns State: $ ©
and the tax years. .......................
Local; $ ( )

 

 

29. Family support
Exa;nples: Past due or lump sum alimony, spousal support, child support, maintenance divorce settlement property settlement

No

 

 

 

m Yes. Give specinc information .............. ©
Alimcny: $
Maintenance: $ 69
Support: $ 63
Divcrce settlement $ §§
Property settlement $ :

 

30. Other amounts someone owes you
E amp/es: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, Workers’ compensation,
g Social Security benefits; unpaid loans you made to someone else

No /.
n Yes. Give specific information ...............

 

C

 

 

 

 

Ofticial Form 106AIB Schedule NB: Property page 7

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\ _ ,» ~ ,-` ~ Q ' .` 3 ~_
Debtor1 F\’EN \Ni? MM(S:QHQ \Q \ <`C> \g.,§>* Case number (i/known> & § C( '“ qc> \&C) § §
l'S ama ’ e ame LaSt Name

31. interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowners or renter’s insurance

ajNo

n Yes, Name the insurance company Company names Benenciary: Su"ender or refund value
of each policy and list its value

 

 

 

 

 

 

 

69
653
63
32` Any interest in property that is due you from someone who has died
if you are the beneiiciary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
priperty because someone has died.
n ¥es. Give specific information .............. 6
§ $
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Exampies.' Accidents, employment disputes, insurance claims, or rights to sue
§ No ,
Z>

 

n Yes. Describe each claim. ....................

 

34_ Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

gsa off claims
No

[:l Yes. Describe each claim. ....................

 

 

 

 

 

 

 

$
35.Anyl‘inancial assets you did not already list
‘No ,
n Yes. Give specific information ............ § $
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .................................................................................................................................................... -) $ C)

 

 

 

m Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part 1.

37. D§ you own or have any legal or equitable interest in any business-related property?
o. Go to Part 6.

Cl Yes. co to line 38_

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

38. Accounts receivable or commissions you already earned

No
L_.l Yes. Describe .......

/

;'“""“>
\W/

 

 

 

39. Office equipment, furnishings, and supplies
E ‘amples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones desks, chairs, electronic devices

 

No
§ jr
a Yes. Describe ....... $ t::\>

l

 

Ofiicial Form 106A/B Schedule NB: Property page 8

CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entel’ed 02/28/19 16255:41

DebiOF 1 L\/\`(\(LQ~ w_\ QQ \\q” _T@ C`)X(.>é> Case number (ifknown) 3 f \ C{ 7 /~Z GC\’£(:> O\S+

Flrst Name Middle Name Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

WNO § § §

 

 

 

n Yes. Describe ....... §$
f z
41. inventory
a NO §
n Yes. Describe ....... $

 

42. interests in partnerships or joint ventures
[j` No
n Yes' Describe"""‘ Name of entity: % of ownership:
°/° $

% $ f
% $ ;’

 

43. stomer |ists, mailing |ists, or other compilations
No .,
n Yes. Do your lists include personally identifiable information (as denned in 11 U.S.C. § 101(41A))?
n No
m Yes. Describe........ §

 

  

 

 

 

 

 

 

 

44.Any business-related property you did not already list /
No /

n Yes. Give specihc § $

information ......... /

/ $

$

$

$

$

 

 

45. Add the doliar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 6. Write that number here ....................................................................................................................................................

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an interest l .
if you own or have an interest in farmland, list it in Part 1.

46. Do ou own or have any legal or equitable interest in any farm- or commercial fishing-related property?

l\ No_ co to Part 7c
El' Yes. co to line 47_

  

Curr nt value of the
porti n you own?

Do no deduct secured claims
or exe ptions.

47. Farm animals
Ex:mples: Livestock, poultry, farm-raised fish

0
m Yes ......................... § ::,

 

 

 

 

Ott`icial Form 106A/B Scheduie AIB: Property page 8

 

CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entel’ed 02/28/19 16255:41

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ t. wm § w w , *`
Debtor1 L\'\`n{`“€» “”) F:K`i GK. \ cc?¢"l_(>'@~ Case number (ifknawn) g 1 C( qG q gu G`S;
FrrslName Middle Name LastName
48. Crops--either growing or harvested
`- No _ (‘
m Yes. Give specmc .
information. § $
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
@~ No
i;l Ves .......................... § … /”'
` $
50. Farm and fishing supplies, chemica|s, and feed
m No
Cl Yes \`
$
51. Any farm- and commercial fishing-related property you did not already list
El No § §§ /,,_W
n Yes. Give specific § § '
information ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ //»-»~
for Part 6. Write that number here .................................................................................................................................................... 9
Describe Al| Property You Own or Have an interest in That Vou Did Not List Above
53. Do you have other property of any kind you did not already iist?
Kmples: Season tickets, country club membership
. NO § ,,,W.,“.,,
m Yes. Give specific§ $_,:`_'
information t $ '
54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 5
List the Totals of Each Part of this Form
55.Part1: Total real estate, line 2 .............................................................................................................................................................. 9 5 g
56. Part 2: Total vehicles, line 5 $ g § 635 ® `
57. Part 3: Total personal and household items, line 16 $ h 60
58. Part 4: Total financial assets, line 36 $
59. Part 5: Total business-related property, line 45 $
60. Part 6: Total farm- and fishing-related property, line 52 $
61. Part 7: Total other property not listed, line 64 + $

62.Total personal property. Add lines 56 through 61. .................... § $ §§ W> Copy personal property total 9 + $ g :§& z 55

 

 

63. Total of all property on Schedu|e AlB. Add line 55 + line 62 .......................................................................................... $

 

 

 

thcial Form iClGAI Schedule Ale Pro e
‘ HW“W::KM ‘ MQ"YWHYW“

was

 
  

      

 

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Debtor1 HGP~K% T` (`&\S"G

Firsl Name Micldle Name Lasl Name

Debtor 2

 

(Spouse, if filing) l-`rrsl Name Middle Name

United States Bankruptoy Court for ther District Of ”

casenumber C€' \CV/) Gq 550 C\ 5)' El check inns is an

rif known amended filing

 

 

 

Official Form 1060
Schedule C: The Property `You Claim as Exempt owe

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information

Using the property you listed on Schedule A/B: Property (Oflicial Form 106A/B) as your source, list the property that you claim as exempt lf more
space is needed, fill out and attach to this page as many copies of Pan‘ 2.' Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

For each item oi' property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt Altematively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
ilmits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property Vou Claim as Exempt

 

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is riling with you.

l:.l You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
El You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Speoific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box far each exemption
Schedule A/B

Brief 1 ' 1 1 0
description: MM 5 $ 81 C>CO‘ 0

Cl 100% of fair market value, up to

 

 

 

 

 

 

 

 

Line from . . .
Schedule A/B; any applicable statutory limit
Brief

description $ a $

Line from n 100% of fair market value, up to
Sohedule A/B,- any applicable statutory limit
Brief

description $ n $

Line from m 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit

 

 

3. Are you claiming a homestead exemption of more than $160,376?
(Subject to adjustment on 4101/19 and every 3 years after that for cases filed on or after the date of adjustment.)

‘@No

m Ves. Did you acquire the property covered by the exemption within 1,215 days before you liled this case?

n No
n Yes

Ofticial Form 1060 Schedule C: The Property You Claim as Exempt page 1 of __

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Debtor1 blow mg§` lC`L ._,\__YC:>\S`@ Case number orknu»m) g d \Ct ` qu ge Q'S+

First Name Middle Name Lasl Name

Additional Page

 

 

Ochial Form 106C

 

Wsss;scasws ,~

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Brieil description of the property and line Current value of the Amount of the exemption you claim Speoific laws that allow exemption
on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B

Brief

description $ m $

Line from El 100% or fair market value, up to

Schedu/e A/B_~ any applicable statutory limit

Brief

description $ cl $

Line from n 100% of fair market value, up to

Schedu/e A/B_- ____ any applicable statutory limit

Brief

description $ n $

Line from m 100% of fair market value, up to

Schedulo A/B.' __ any applicable statutory limit

Brief

description $ n $

Line from n 100% of fair market value, up to

Schedule A/B.' any applicable statutory limit

Brief

description 5 n $

Line from cl 100% of fair market value, up to

Schedule A/B; --__ any applicable statutory limit

Brief

description $ n $

Line from n 100% of fair market value, up to

Schedu/e A/B; """_ any applicable statutory limit

Brief

description $ n $

Line from n 100% of fair market value, up to

Schedule A/B; any applicable statutory limit

Brief

description $ n $

Line from n 100% of fair market value, up to
\ Schedule A/B; ____ any applicable statutory limit

Brief

description $ g $

Line from L_.\ 100% of fair market value, up to

Schedu/e A/B; *""_‘ any applicable statutory limit

Brief

description $ n $

Line from m 100% of fair market value, up to

schedule A/B,- any applicable statutory limit

~Brief

description $ El $

Line from m 100% of fair market value, up to

Schedu{e A/B; _________ any applicable statutory limit

Brief

description $ n $

Line from L_.l 100% of fair market value, up to

Schedu/e A/B; _ any applicable statutory limit

Schedule C: The Pro
:f'," s1

6 t

, You Claim as Exempt

     

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Fill in this information to identify your case:

Debtor1 ['\\? an'? UG`F LCS\. /T (`O\SQ

Flrsl Name Middle Name "Easl Name

Debtor 2
(Spouse, if lliing) First Name Middle Name Lasl Name

 

United States Bankruptcy Court for the: DiStriCt Of

Case number Q,` \q , 7 (> 386 C&'~Sl¥/

iiiknownl Cl Check ifihis is an
amended filing

 

 

Officia| Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information lt more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

1. Do any creditors have claims secured by your property?
§ No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form,
Yes. Fill in all of the information below.

List All secured claims
` ' ColumnB"' _W ' Column C

7 2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately Amo"nt of 9mm ; Va“m9 9f;99||a§9r9| Un~s99u'r9d

 

 

 

 

 

 

 

 

 

 

 

 

 

for each claim if more than one creditor has a particular claim, list the other creditors ln Part 2. Do not deduct the gth supports ms portion
7 As much as possible, list the claims ln alphabetical order according to the creditors name v91u979f99"at9r9| 7 y claim 1 _, 7 |f any
0 ` G l 7 7` _ ,l 60 __ _
\~..O<` \ Xug \ dk ¥>\\ o Describe the property that secures the olaim: $K: w) $ $
creditors Name db \ 0\ ©p
» x \QS»§
Number Street _k) U' C)"M') W\
As of the date you file, the claim is: Check all that appiy.
n Contingent
ill unliquidated
Clty State ZlP Code a Disputed
Wh° °We$ the debt? Check On@- Nature of iien. Check all that apply.
m Debtor 1 0an a An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
l;| Debtor 1 and Debtor 2 only [] Statutory lien (such as tax lien, mechanic’s lien)
Cl At least one of the debtors and another n Judgm€nt lien from 3 lawsuit
cl Other (inc|uding a right to offset)
n Check if this claim relates to a
community debt (;Q ,.,
7 Date debt vvas incurred Last 4 digits of account number _ ;_2__3 3___{ 7 7 7
`£| Describe the property that secures the claim: $ $ $

 

 

 

Creditor’s Name

 

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
m Contingent
El unliquidated
City State ZlP Code a Disputed
Who owes the debt? Check One~ Nature of lien. check all that apply.
n Debtor1 Only L_.] An agreement you made (such as mongage or secured
m Debtor 2 only car loan)
cl Debtor 1 and Debtor 2 On|y n Statutory lien (such as tax lien, mechanic’s lien)
a At least one of the debtors and another n Judgment lien from a lawsuit

0 Other (inc|uding a right to offset)
0 cheek ii this claim relates to a
community debt

 

 

Date debt was incurred Last 4 digits of account number_ _ _ _ _\}
_ 9 ,
Add the dollar value ot your entries in Column A on this page Write that number here: § \i:M

Ofncial Form 1060 Schedule D: Creditors Who Have Claims Secured by Property page 1 of ___

Debtor 1

Case 8-19-70980-ast

L\"""(\<i m@r€\ea TC<:>KS<?

 

Fiist Name Middle Name

Lasl Name

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Case number (irknown) g ' lcl ”'?G Clw G~*E+>

 

 

  
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Additional Page ,C°~/~”W",B 71 "` 1 i Column 0 t
. . . . . . . ' Va|ue ofcoll'ate_ral "Unsecured,
After listing any entries on this page, number them beginning with 2.3, followed x¢hafsu~;~,`p°*n`$'th;s` ~~ ` P°rti°n
by 2~41 and S° f°nh- yal,ue,ot collateial." ' ,`°:|‘-\il’\,?`,’y t " ' y `lf any
Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
city state zlP code [l unliquidated
n Disputed
Who ¢wes the debt? Check one. Naiure of iien. check all that apply.
n Debtor1 °n|y n An agreement you made (such as mortgage or secured
Cl Debtor 2 only car loan)
|;] Debtor1 and Debtor 2 only m Statutory lien (such as tax lien, mechanic’s lien)
n At least one of the debtors and another n Judgmem lien from 3 lawsuit
n Other (including a right to offset)
n Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number __ __ _ _
|_| Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
L] unliquidated
Clty State ZlP Code n Disputed
7
Who owes the debt Check One' Nature of lien. Check all that apply.
n Debtor1 only n An agreement you made (such as mortgage or secured
m Debtor 2 only ear loan)
n Debtor 1 and Debto"2 On|y n Statutory lien (such as tax lien, mechanic’s lien)
n At least one of the debtors and another l:l Judgment lien from a lawsuit
n Check if this claim relates to a m Other (mcludmg a nght to OHSet)
community debt
§ Date debt was incurred Last 4 digits of account number_ _ _ _
._| Describe the property that secures the olaim: $ $ $
' Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
a Contingent
city stale zlP code l'_`l unliquidated
m Disputed
Wh° °We$ the d¢b*? Check One» Nature of lien, Check all that apply.
n Debto'" 1 Only m An agreement you made (Such as mortgage or secured
n Debtor 2 only car loan)
m Debtor1 and Debtor 2 only n Statutory lien (such as tax lien, mechanic‘s lien)
n At least one of the debtors and another cl JUde€‘"t lien from a 'SWSUR
n Other (including a right to offset)
El cheek if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number_ _ _ _
Add the dollar value of your entries in Column A on this page. Write that number here:
lf this is the last page of your form, add the dollar value totals from all pages.
Write thatnumber__her.e:
Oflicial Form 106D Addltional Page of Sohedule D: Creditors Who Have Claims Secured by Property page _ of _____

 

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Debtcr 1 L\\'{\ ma mHK\ 6\ T£O \S`Q Case number (ilknawn) gm 1 ct k 70 618 0 Q»‘S'%`

Fiist Name Middle Name Last Name

m List others m se Noiified for a oebr rim You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. lt you do not have additional persons to

y be notified for any debts in Part 1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

E On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_ _ _ _
Number Street
City Slate ZlP Code

m On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number_ _ _ _
Number Street
City State ZlP Code

g On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ _ _ ___
Number Street
City State ZlP Code

l:| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_ _ _ ___
Number Street
City State ZlP Code

l:| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_ _ _ _

- Number Street
City State ZlP Code

[:] On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_ _ _ _
Number Street

 

 

Cit ZlP Code

      

Ofti<:ial Form 106D Part 2 of Schedule D: Creditors Who Have C|aims Secured by Property page _ of_

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Fill in this information to identify your case:

Debtor1 ""ii\i\,<z_ '\’T\ Fi~\(` t Ge T?® \S_e

First Name Midd|e Name Last Name

Debtor 2
(Spouse, if flitng) First Name Middle Name Last Name

 

% “ \C\ ' "7(>@1&’(> ga § t" W ill check irrhls is an

Case number amended flling

(lt known)

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PR|ORlTY claims and Part 2 for creditors with NONPRIOR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on Schedule
A/B: Property (Officia| Form 1 DGAlB) and on Schedule G: Executory Contracts and Unexpired Leases (Ofl‘icia| Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

List Al| cf Your PR|ORlTY Unsecured Claims

y 1. l_D any creditors have priority unsecured claims against you?
' No. Go to Part 2,
[;l Yes.

' 2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. |f a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditors name. lf you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1 . lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

ij tretalclaini‘": 1 "
2.1
Last 4 digits of account number _ _ _ $ $ $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you ti|e, the claim is: Check all that apply.
city state zlP code n C°"“"ge"t
_ o El unliquidated
Who incurred the debt. Check one. n Disputed
Cl Debtor1 only
L_.l Debtor2 only Type of PR|ORlTY unsecured claim:
g Debtor 1 and Debtor 2 On|y n Domestic support obligations
At least one ofthe debtors and another n Taxes and certain other debts you owe the government
n Che°k 'f th's cla'm ls for a °°mmumty debt n C|aims for death or personal injury Whi|e you were
ls the claim subject to offset? 'ntox'°ated
g NO Cl crher_ specify
[] Yes
\2'2 l Last4 digits of account number _ _ _ _ $ $ $

 

Priority Creditor‘s Name
When was the debt incurred?

 

 

 

Number Street
As cf the date you file, the claim is: Check all that apply.
m Contingent

city state zlP code ij Un|iquidated

Who incurred the debt? Check cne. 0 Disputed

g Debtor1 only

n Debtor 2 only

EJ Debtor1 and Debtorz only

m At least one of the debtors and another

Type cf PR|ORlTY unsecured claim:
C] Domestic support obligations
m Taxes and certain other debts you owe the government

m Claims for death or personal injury while you were

 

n Check if this claim is for a community debt intoxicated

ls the claim subject to offset? i:l Other. Specify
m No

L_-lY§S

thcial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page 1 of _

Case 8-19-70980-ast
T€t> t§»e

Last Name

L`ii'lf\e

Firsl Name Middle Name

Debtor 1

m Your PR|ORlTY Unsecured Claims - Ccntinuaticn Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so fcrth.

l:l

 

 

 

 

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` N§n'wierifya
l amount , "

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last4 digiw of account number _ __ _____ _ $ $ $
Priority Creditor's Name
When was the debt incurred?
Number Street
As cf the date you file, the claim is: Check all that apply.
n Contingent
city state zlP code El Unliquidated
n Disputed
Who incurred the debt? Check one.
El Debtor1 only Type cf PR|ORlTY unsecured claim:
m Debtor 2 amy n Domestic support obligations
L_.] Debtor 1 and Debtor 2 only .
n Taxes and certaln other debts you owe the government
n At least one of the debtors and another _ , , .
n Clalms for death or personal lnjury while you were
n Check if this claim is for a community debt 'mox'°ated
n Other. Specify
ls the claim subject to offset?
n No
~ n Yes
Last 4 digits cf account number ____ ___ _ _ $ $ $
Priority Creditol’s Name
When was the debt incurred?
Number Street
As cf the date ycu file, the claim is: Check all that apply.
n Contingent
city state zlP code Cl Unliquidated
m Disputed
Who incurred the debt? Check one,
El Debtor1 only Type cf PR|ORlTY unsecured claim:
n Debtor 2 only n Domestic support obligations
m Debtor 1 and Debtor 2 only .
n Taxes and certaln other debts you owe the government
n At least one ot the debtors and another _ . . .
n Clalms for death or personal lnjury whl|e you were
El cheek if this olaim is for a community debt '"t°X'°a*ed
El other. specify
ls the claim subject tc cffset?
n No
, n Yes
Last 4 digits of account number ____ ___ __ _ $ $ $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As cf the date you file, the claim is: Check all that apply.
n Contingent
city state zlP code Cl unliquidated
n Disputed
Who incurred the debt? Check one.
l;l Debtor1 only Type of PR|ORlTY unsecured claim:
n Debtor 2 On|y l;l Domestic support obligations
m Debtor1 and Debtor 2 only .
n Taxes and certain other debts you owe the government
m At least one of the debtors and another , , , _
l;l Clalms for death or personal lnjury Whlle you were
m Check if this claim is for a community debt 'moxlcated
m Other. Specify
ls the claim subject tc offset?
n No
g YeS,
Oft'lcial Form 106E/F Schedule EIF: Creditors Who Have Unsecured C|aims page _ cf_

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”'*` t C`
Debtor1 u\`{\‘(\.£ … \ C%\§'e ' Case number rirknovirr) @_\Cth/?Q \§C'\ G&\"

Flrst Name Middie Name Last Name

 

m List All of Your NDNPRIORlTY Unsecured Claims

3. Do any creditors have ncnpricrity unsecured claims against you?

|:l No, You have nothing to report in this part Submit this form to the court with your other schedules
Yes

g 4. List all of your ncnpricrity unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
ncnpricrity unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three ncnpricrity unsecured
claims fill out the Continuation Page of Part 2.

Tct`at claim '

 

 

 

 

 

 

 

 

 

4 .1
l Last 4 digits cf account number_ _____ _ ___
Nonpriority Creditcrs Name 3
When was the debt incurred?
Number Street
City state zip code As cf the date you file, the claim is: Check all that apply.
n Contingent
Who incurred the debt? Check one. E| unliquidated
m Debtor1 only a Disputed
n Debtor 2 only
|;l Debtor1 and Deblor 2 only Type of NONPR|OR|TY unsecured claim:
n At least one of the debtors and another ['J Studem loans
n Check if this claim is for a community debt n Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims
ls the claim subject tc offset? i;l Debts to pension or profit-sharing plans, and other similar debts
n No n Other, Specify
El Yes
4.2 l Last 4 digits of account number ___~ _ _ $
Nonpriority Creditcr's Name When was the debt inourred?
Number Street
As cf the date you file, the claim is: Check all that app|y,
City State ZlP Code m Contingent
who incurred the debt? cheek one. n Un|lquidated
n Disputed

i;l Debtor1 only
ij Debtor 2 only

n Debtor1 and Debtor 2 Only Type cf NONPR|OR|TY unsecured claim:

n At least one of the debtors and another m Student loans
a _ _ _ _ _ m Obligatlons arising out of a separation agreement or divorce
Check if this claim is for a community debt that you did not report as priority C‘aims

ls the claim subject to offset? m Debts to pension or profit-sharing plans, and other similar debts
n No n Other. Specify

ij Yes

 

4.3
l l Last 4 digits of account number
Nonpriority Creditcrs Name

____ $

When was the debt incurred?

 

Number Street

As of the date you file, the claim is: Check all that apply.

 

City State ZlP Code
cl Contingent

Who incurred the debt? Check one. . '
i;l Un|lquidated

 

m Debtor1 only n Disputed
n Debtor 2 only
n Debtor1 and Debtorz °"‘Y Type or NoNPRloRlTY unsecured claim:
n At least one of the debtors and another
n Student loans
n Che°k if this °laim is for 3 °°mm\mity debt n Obligations arising out of a separation agreement or divorce
th t ` t ' ' | '
ls the claim subject to offset? a you did m.) report as pnon_ty c a|ms , ,
n Debts to pension or profit-sharing plans, and other similar debts
n N° Cl other specify
i;l Yes v

Official Form 106E/F Schedule ElF: Creditcrs Who Have Unsecured Claims page ___ of ___

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Debtor1 L\&GQ~{ m *‘ T`!§O \,S`.X_/ Case number(ifkmm> §'*i ct 7 G di §§ O`.S a`--

Frrst Name Middie Name Last Name

 

Your NONPR|OR|TY Unsecured Claims - Continuaticn Page

 

 

 

' After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so torth.

 

 

 

Last 4 digits ct account number ___ _____ __ ____ $

 

 

Nonpriority Creditor's Name
When was the debt incurrcd?

 

 

Number Street
As cf the date you file, the claim is: Check all that apply.
ciiy siaic zlP code i'_'l Contingent
_ I;l unliquidated
Who incurred the debt? Check one. [] Disputed
L_.l Debtor1 only
D Debtorz only Type of NONPR|OR|TY unsecured claim:
§ Debtor1 and Debtor 2 only n Studem loans
At least one of the debtors and another n Obligations arising cut of a separation agreement or divorce that

you did not report as priority claims

lIl chch ir this claim is rcr a community debt _ _ _ ‘
m Debts to pension or proi”it-shanng plans, and other similar debts

 

 

 

 

ls the claim subject to ot'l'set? C| Other. Spedfy
n No
n Yes
Last 4 digits of account number ___ _ ____ ___ $

 

 

Nonpriority Creditcrs Name
When was the debt incurred?

 

 

Number Street . .
As of the date you file, the claim is: Check all that apply.
city stare zlP code C] Contingent
n Unliquidated
Who incurred the debt? Check one. m Disputed
U Debtor1 only
m Debtorz only Type of NONPR\QR\TY unsecured claim:
n Debtor1 and Debtor 2 only n Student loans
n At least me of the debtors and another n Obligations arising out of a separation agreement or divorce that

you did not report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? [] Other_ Specify

n No
n Yes

m Check if this claim is for a community debt

 

 

Last 4 digits of account number

 

Nonpriority Creditcrs Name
When was the debt incurred?

 

 

N b St t
um er fee As of thc date you filc, the claim is: Check all that apply.

; city state zlP code C| Contingent
n Unliquidated
Who incurred thc debt? Check one. cl Disputed
j m Debtor1 only

E] Debtorz only Type of NONPR|CR|TY unsecured claim:

g Debtor1 and ocbicrz only m Student hans

At west One of the debtors and another a Obligations arising out of a separation agreement or divorce that

you did not report as priority claims
cl Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? L__| Other_ Specify

m No
a Yes

Cl Check if this claim is for a community debt

 

Official Form 106E/F Schedule EIF: Creditcrs Who Have Unsecured Claims page __ of ____

CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entel’ed 02/28/19 16255:41

*’i‘ (` &§~.€>,,v _
L\l““`€ nw C Case number (ifknown) g `\ q °- ?O cl g® QS%

l-“lrsi Name

Debtor 1

 

Middle Name Last Name

List Others to Be Notified About a Debt That ¥ou Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lt you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): |;] Part 1: Creditcrs with Priority Unsecured Claims
Number S"ee‘ E] Part 2: Creditcrs with Nonpriority Unsecured Claims
Last 4 digits of account number__ ___ __ __
°"v Sta‘e` …z"’¢;°,.‘!? c t s s ,, s ,, - , -
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Ci Part 1: Creditcrs with Priority Unsecured Claims
Number S"ee‘ C] Part 2: Creditcrs with Nonpriority Unsecured
Claims
_ Last 4 digits of account number _ _ __ __
city stare zlP code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Cheok one): U Part1: Creditcrs with Priority Unsecured Claims
Number S"ee* Cl Part 2; Creditcrs with Nonpn`ority Unsecured
Claims
Last 4 digits of account number __ ___ __ __
,,C“Y S*?*e _Z.'P¢°de _, _, _ _ ,, _ ,, _ _
On which entry in Part 1 or Fart 2 did you list the original creditor?
Name
Line of (Check one): Ci Part 1: Creditcrs with Priority Unsecured Claims
Number sweet C] Part 21 Creditcrs with Nonpriority Unsecured
Claims
_ Last 4 digits of account number __ __ __ ___
city stare zlP code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): [] Part1: Creditcrs with Priority Unsecured Claims
Number Stree* U Part 2; Creditcrs with Nonpriority Unsecured
Claims
Last 4 digits of account number_ _ _ ___
city state zlP code 7
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): E] Part1: Creditcrs with Priority Unsecured Claims
N‘"“b*” S"ee‘ 13 Part 2: Creditcrs with Nonpriority Unsecured
Claims
Last 4 digits of account number__ __ ___ _
City Staie ZlP Code
N On which entry in Part 1 or Part 2 did you list the original creditor?
Sm€
Line of (Check one): C] Part 1: Creditcrs with Priority Unsecured C|aims
Number Street , _ . .
i;l Part 21 Credxtors with Nonprlonty Unsecured
Claims
gate ZlP Code Last 4 digits ot account number__ __ __ _

city

Of'ECiai Form 106E/F

Schedule EIF: Creditcrs Who Have Unsecured Claims

page __ of ___

Case 8-19-70980-&St DOC 9 Filed 02/26/19 Entered 02/28/19 16:55:41
Debtor1 Lin(i~£e. m T€b&g~‘€ Case number <irknown) g f `C( ¥ 16 cla/§ Q~& `\`

Fnst Name Middle Name Last Name

 

Add the Amounts for Each Type of Unsecured Claim

 

 

6. Total the amounts of certain types of unsecured claims. This information is i'or statistical reporting purposes only. 28 U.S.C. § 169.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

Total claim
Total claims 6a Domestic support obligations 6a $
from Palu 6b, Taxes and certain other debts you owe the
government 6h. $
6c Claims for death or personal injury while you were
intoxicated 60. $
6d. Other. Add all other priority unsecured claims
Write that amount here. Sd. + $
6e. Total. Add lines 6a through 6ci. 6e.
$
Total claim
Total claims 6f. Student loans 6f. $
fr°m Pa't 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims 69, $
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $
61. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6i. + $
6j. Total. Add lines 6f through 6i. 6j.
$

 

 

 

   

Ofiicial Form 106E/F Schedule E/F: Creditcrs Who Have Unsecured Claims page __ of ___

CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entel’ed 02/28/19 16255:41

Debior L`ih\'\ ¢2. \O’\G'<\ ch T<O \S»<

Frrst Name Middie Name Last Name

Debtor 2

 

(Spouse if filing) Firsl Name Middle Name Last Name

United States Bankruptcy Court for the: 39 DiSil'iCi Oi w §
Case number %`\ Ci , ’I dyng CZ’$ k

(lf known)

 

El check innis is an
amended filing

 

 

Official Form 1066
Schedule G: Executory Gontracts and Unexpired Leases 12115

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information lt more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (li' known).

 

1. Do you have any executory contracts or unexpired leases?
E] No. Check this box and tile this form with the court with your other schedules You have nothing else to report on this fom'i.
n Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contractor lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases

 

 

 

 

 

Pcrson or company with whom you have the contract or lease State what the contract or lease is for
,2.1,
Name
Number Street
City State ZlP Code
2.2;
Name

 

Number Street

 

_ City _ , , ,S¥a*e ,Z'Pc°d¢
2.3

 

Name

 

Number Street

 

Cw , , , , safe zitcode
:2.4;

 

Name

 

Number Street

 

_.C"Y, ,_ .… … S_taj‘e,… _Z,'_P,C_‘?d¢_

 

Name

 

Number Street

 

City State ZlP Code

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of_

CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entered 02/28/19 16255:41

Debtol' 1 L\£nn\.i? m T CO \S~P Case number <irkm¢m) g' \Ci ' ?C al §§ G`ST?

F\rst Name ' Middle Name Last Name

Additional Page if You Have More Contracts or Leases

 

 

 

Person or company with whom you have the contract or lease What the contract or lease is for
v23§

Name

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

 

City Sta!e ZlP Code

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

city State zlP code

 

 

 

Name

 

Number Street

 

 

 

 

 

 

 

City State ZlP Code
Name

Number Street

City § § § d State ZlP Code y

 

 

 

 

 

     
   

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page ___ of _

CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entel’ed 02/28/19 16255:41

Fill in this information to identify your case:

Debtor 1 L`\rq(\.€, `(Y\ Q`€ \ CL_ ’\` w\ §`_Q_

First Name Middle Name Last Name

 

 

Debtor 2
(SpOuSe, if filing) First Name Middle Name Last Name

United States Bankruptcy Courl for the: &-© DlStrin Of N j
"<, l § a »
Case number M§:F.§\Ey §" \ct " 7 [>Ci &C} CA.§ "'

iii known) El Check if this is art
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/1s

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. At‘tach the Additiona| Page to this page. On the top of any Additiona| Pages, write your name and
case number (if known). Answer every question.

 

 

1: Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)

y No
n Yes

' 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New lVlexico, Pueito Rico, Texas, Washington, and V\hsconsin.)
ga No. Go to line 3.
n Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

a No

n Yes. ln Which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City Sfaie ZlP Code

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106EIF), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2.' The creditor to whom you owe the debt
Check all schedules that apply:
3.1
m Schedule D, line______
Name
El Schedule E/F, line
Number Street U Schedule G, line
…Ci_fy, .… .… i… , …S\afe t ZlP.§?de». ,……
3.2
C] Schedule D, line
Name _` '
El Schedule E/F, line
Number Street Cl Schedule G, line
i,`Qi\Y ii ,, , ,,iS,!af,€ , l l … ZlPiQ.°,de,_,\,
3.3
l;l Schedule D, line
Name
l;l Schedule E/F, line
Number Sfreef El Schedule G, line
C,ify_ , ., ,i ,_ …_ n l ,_ ,. ,…~Sfa\€ , ._ _YZ“,,’.C°<!.¢.c

Official Form 106H Schedule H: Your Codebtors page 1 of___

Case 8-19-70980-ast

Debtor1 L`\'<\f\»€w `<Y'\ /Tg'¢\§»-Q/

Last Name

Fiist Name Middle Name

 

Column 1: ¥our codebtor

Additional Page to List Molre Codebtors

Case number (inmnwn)

 

 

 

 

 

 

 

 

 

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z;»i€i - 7c‘i tro del

Column 2: The creditor to whom you owe the debt

Check all schedules that appiy:

U Schedule D, line

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
El schedule E/F, line
Number area El schedule G, line___
City_ i, d , W§*e!§_i Z,*F.’§P£i% v v
, N C] Schedule D, line
ama
El schedule E/F, line
Number sheet U Schedule G, iine_____
' § Qiiy_ c, Stafs, ,.Z',PcC,<>.de,,,,
N Cl Schedule D, line
y ama
Cl schedule E/l=, line
Number sheer El Schedule G, line__
»r City State ZlP Code
N EJ schedule D, line
ama
Cl Schedule E/F, line
Number sheer l] Schedule G, line _______
, N EJ schedule D, line
ante §
[:l Schedule E/F, line
Number Stree\ C] Schedule G, line
g C'ly , stare ¢_ zlP code
~ U Schedule D, line
Name
l.'J schedule E/F, line
Number sweet C] Schedule G, line ________
‘ ley… l ,… V_ ., a §.fa!e ,_ .. Z'PC°de . _,
§ CI schedule D, line
Name '_°'°""
U Schedule E/F, line
Number St,eet U Schedule G, line
E:T ,_Qifv Siale 4 Z!P, 9949_. .~
" Cl Schedule D, line
Name
E] schedule E/F, line
Number Street L'.l schedule G, line______
City St§t$ ZlP Code

 

 

Officlal Form 106H

 

Schedule H: Your Codebtors

 

 

page ___ of ____

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` Fill in this information to identify your case:

L"`iil Tt{ (Y\`{.>[( ya T{`C>\S('°

Ml`dd|e Name

Debtor 1

Flrsl Name Last Name

Debtor2
(Spouse iffiling) FirslName

 

Last Name

District ot w ____"

Middle Name

United States Bankruptcy Court for the: 2 9

Case number L§ "\C\ IU q ge 0»§ §¢

(|f known)

Check if this is:
El An amended ti|ing

El A supplement showing postpetition chapter 13
income as of the following date:

 

 

Official Form 1061
Schedule l: Your Income

Be as complete and accurate as possib|e. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. ll' you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a

Mlvl / DD/ YYYY
12/15

separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Employment

 

1. Fill in your employment

Debtor 2 or non-filing spouse

 

information. Debtor 1

lf you have more than one job,

attach a separate page with

information about additional Empl°yme"t Statu$ n Employed
employers. , Not employed

lnclude part-time, seasonal, or
self-employed worl<.

bee \cs§
Sth@i;t@

Occu ation
Occupation may include student p

or homemaker, if it applies
Employer’s name

Employer’s address
Number Street

m Employed
n Not employed

l\§lci z\)l servitch it l\\§f
9 r'\ » 93 C`:> lt ib §§

t\S \ SQ‘T\§~§QW 992 @)i;§)t,;\i‘_>{\ W \/\

Number Ueet

\\?o\el

 

z\)\n'lmr`lr)\l& lwl \lStl»

 

City State

How long employed there? fl)

zlP code city

State ZlP Code

l‘l

 

m Give Details About Monthly lncome

Estimate monthly income as of the date you tile this form. lf you have nothing to report for any line1 write $0 in the space. lnclude your non-fl|ing

spouse unless you are separated

|f you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. lf you need more space, attach a separate sheet to this form.

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). lf not paid month|y, calculate what the monthly wage would be. 2. $

3. Estimate and list monthly overtime pay. 3. + $

For Debtor 1

For Debtor 2 or
non-filing spouse

 

4. Ca|culate gross income. Add line 2 + line 3.

 

 

 

 

 

Offlcial Form 106| Schedule l: Your lncome

page ‘l

CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entel’ed 02/28/19 16255:41

Debtor1 kinn`€ fn Q(\CL T(`C>\S`€? Case number (irkm>lln)% 01 C\ !?Gilz% &(`) QS`§`

Filst Name Middle Name Last Name

For Debtor 1 For Debtor 2 or
elic?e§s§ielle'l£!e§e&£ét§§ee

~cc`pyline4here...,., ...... l ...................................................... 94_ s § § s ll § §§

5. List all payroll deductions:
*~\Sb

  

 

 

 

 

 

 

 

 

 

 

5a Tax, Medicare, and Social Security deductions 5a. $ $
5b. Mandatory contributions for retirement plans 5b. $ $ C:)
5c. Vo|untary contributions for retirement plans 50. $ $ (:)
5d. Required repayments of retirement fund loans 5d. $ $ (:)
5e. insurance Se. $ $ ©
5f. Domestic support obligations 5f. $ $ q© ` C`O
59. Union dues 5g_ $ $ C:>
5h. other deductions specify: 5h. + 5 + $ l '(;:l ~ O C>
6. Add the payroll deductions Add lines 5a + 5b + 5c + 5d + 5e +5f + 59`+ 5h. 6. $ $ §§(Q = 0 ©
7. Ca|culate total monthly take-home pay. Subtract line 6 from_ line 4. 7. $ $ C ' ( n`z?/i aid

8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ $
monthly net income. 8a_

8b. interest and dividends 8b. $
80. Family support payments that you, a non-filing spouse, or a dependent

C>
Ci>
regularly receive 0
C>

 

 

 

lnclude alimony, spousal support, child support, maintenance, divorce $ $
settlement and property settlement. 8c
8d. Unemployment compensation 8d. $
8e. Social Security 8e. $ $ r;) t©(:>* 590

 

Bf. Other government assistance that you regularly receive

lnclude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benet“lts under the Supplemental

 

 

 

 

 

 

 

 

 

:Fl)l;r(l:tllf;n Asslstance Program) or housing subsidies 88 $ w $ 0
89. Pension or retirement income 89. $ O $ 0
8h. Other monthly income. Specify: 8h. + $ w + $ [L)
9. Add all other income. Add lines 8a + 8b + 80 + 8d + 8e + 8f +Sg + Sh. 9. $ m $ m t UC’ 6
10. calculate mcnihly_ income.Add line 7 + line 9. _ $ \:) + $ §§ /i 3’3 '? ,lF’ = $Q 3 ‘OV
Add the entries ln line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. __ _i_-_--

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

lnclude contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

 

 

 

 

 

 

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J. O
Specify: 11. '*' $
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income v ,/) 93 00
Write that amount`on the Summary of Your Assets and Liabilities and Certain Statistica/ lnformation, if it applies 12. $__%_\'1
combined

monthly income
13_ Do you expect an increase or decrease within the year after you file this form?

n No_

 

 

 

Yes. Exp|ain: \WOQ£ \(\(/{ Q/&S`§}
l \ 8

Schedule l: Your lncome
8 ., ,. . am e

       

 

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Debtor1 L\[N ‘\"‘¢/ N\HQM T Q@ \3~€

 

 

Firsi Name Middle Name LaslName Check if this iS;
Debtor 2 .
(Spouse, iili|ing) FirsiName m An amended m|ng
_ _ m A supplement showing postpetition chapter 13
United States Bankruptcy Couri for the; __H Di$triCt Ol expenses as of the following date:
Case number QJ v \C\ 7 O(_K §§ §§ ST m

 

(lf known)

 

 

OtHcial Form 106J
Schedu§e J: Your Expenses ms

Be as complete and accurate as possible. ii' two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this fonn. On the top ot‘ any additional pages, write your name and case number
(if known). Answer every question.

 

` Describe Your Household

 

1. ls this a joint case?

lj\No. Go to line 2.
El Yes. Does Debtor 2 live in a separate household?

Cl No
El Yes. Debtor 2 must nle Ofncial Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

2. Do you have dependents? dino .
Dcpendent’s relationship to Dependent’s Does dependent live
Do not list Debtor1 and Cl ves. Fiii outthis information for Debtor1 owewa age with you?
Debtor 2. each dependent .......................... a
Do not state the dependents n No
names. Yes
El No
Cl Yes
n No
n Yes
g No
l:l Yes
l;l No
l;] Yes
3. Do your expenses include d No

expenses of people other than
y°"'$e"a"dy°“"d@F°"d°"tS° m yes t ,

 

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is flied. if this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

include expenses paid for with non-cash government assistance if you know the value ol'

such assistance and have included it on Schedule I: Your income (Cfficial Form 106|.) Y°“r expanses

mm

4. The rental or home ownership expenses for your residence. include first mortgage payments and O') 680 . §§ C)
any rent for the ground or lot. 48 $.___,t~____________

m

 

if not included in line 4:

s _8_ ~}
4a. Real estate taxes 4a 3 \ § lDO ‘ S(’
' 1

4b. Property, homeowners or renter’s insurance 4b. $ §§ 2 0 0
~ O

4c. Home maintenance, repair, and upkeep expenses 4c. $ th ”

4d. Homeowner’s association or condominium dues 4d. $ ©

Ofncial Form 106J Schedule J: Your Expenses page 1

Debtor1 L\i \'m‘t'i mm Ce ’T\` FO`\S~Q
Frrsi Name Micldle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans 5.
6~ Utllities: `
6a Electricity, heat, natural gas "" 03 \ \ 6a
6h. Water, sewer, garbage collection 6h.
6c. Telephone, cell phone, lnternet, satellite, and cable services 6a
6d. Other. Specify: 6d.

7. Food and housekeeping supplies 7.

8. Childcere and children’s education costs 8.

9. C|othing, laundry, and dry cleaning 9.
10. personal care products and services 10.
11. Medical and dental expenses 11.
12. Transportation. lnclude gas, maintenance, bus or train fare.

Do not include car payments 12.
13, Entertainment, clubs, recreation, newspapers magazines, and hooks 13.
14. Charitable contributions and religious donations 14.
15. lnsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a Life insurance 15a

15b. Health insurance 15b.

15c. Vehic|e insurance 15c,

15d. Other insurance Specify; 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16.
17. installment or lease payments:

17a Car payments for Vehiole 1 17a

17b. Car payments for Vehlcle 2 ’ 17b.

17c, Other. Specify: 17c.

17d. Other, Specify: 17d.
18. Your payments of alimony, maintenanoe, and support that you did not report as deducted from

your pay on line 6, Schedule l, Your lncome (Offlclal Form 106|). 18.
19. Other payments you make to support others who do not live with you.

19.

20.

Offrcial Form iOSJ

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Specify:

 

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Case number (irkno»n) g' \CL v 70 Ci 86 Q §4'

 

Other real property expenses not included in lines 4 or 6 of this form or on Schedule I: Your lncome.

203l Mortgages on other property

20b. Real estate taxes

200. Property, homeowners or renter's insurance
20d. Nlaintenance, repair, and upkeep expenses

20e. Homeowner’s association or condominium dues

Schedule J: Your Expenses

20a

20b.

200.

20d,
206.

your expenses

 

$

$

$ 5?3‘“0<`>
$ 1 C`)Or C{,;J
$ §§t`)»Q(_;

$

 

 

 

 

$ C>

$ 63

$ O

$ C>
C$'

$

$ 67

 

 

 

CaS€ 8-19-70980-&8'[ DOC 9 Filed 02/26/19 Entei’ed 02/28/19 16255:41

Deblor 1 L`{ fm ca m%f\ri /\_`€`OXS€

Firsl Name Middie Name Last Name

21. Other. Specify:

 

22. Caiculete your monthly expenses.

22a. Add lines 4 through 21 .

22b. Copy line 22 (monthly expenses for Debtor 2), if anyl from Ochial Form 106J-2

220. Add line 22a and 22b. The result is your monthly expenses

23. Caloulate your monthly net income.

23a Copy line 12 (your combined monthly income) from Schedule I.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

Case number (rrknm».n) %' 1 q ” `?6 ft gé w '§‘

21,

223.

22b.

23a

23b.

230.

24. Do you expect an increase or decrease in your expenses within the year after you Frie this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modilication to the terms of your mortgage?

U NO. x ,, ,,
El Yes. Explain here:

thcial Form 106.l

   

 
 

Expenses

    

 

 

 

 

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Fill in this information to identify'your case:

Debtor1 L"l\'\(\_.? mci€\ O\. T`§C> \S€

Firsi Name Middle Name Last Name

Debtor 2
(Spouse, if filing) Firsi Name Middle Name LastName

United States Bankruptcy Court for the£® 1 District Of w §
Casenumber %`XC(¢’/?VF\U\ S`(C> &`S"\"

(if known) t

 

m Check if this is an

 

 

amended filing

Official Form 106Dec
Declaration About an individual Debtor’s Schedules wis

 

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S,C. §§ 152, 1341, 1619, and 3571.

- sign Be..,w

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

§ No

n YeS. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (thcial Form 1 19).

Under penalty of perjury, i declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

X wig/mp ymamd choice X

Signa{§.je of Debtor 1 Signature of Debtor 2

Date 529 §§ 5 C:p£;[(; Date
MN|/ D l YYYY MM/ DD/ YYYY

 

 

Officiai Form 106Dec Dec|aration About an individual Debtor’s Scheduies

   

